Filed 11/30/17                           Case 17-13797                               Doc 249



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Tulare Local            Case No.: 17-13797 - B - 9
           Healthcare District
                                               Docket Control No. JAB-1
                                               Date: 11/30/2017
                                               Time: 9:30 AM

           Matter: [198] - Motion for Relief from Automatic Stay [JAB-1]
           Filed by Creditors Bernadette Torrez, John Torrez III (Fee Paid
           $181) (eFilingID: 6167516) (svim)

           Judge: René Lastreto II
           Courtroom Deputy: Debbie Chavez
           Reporter: Electronic Record
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           Creditor's Attorney -   James A. Bulger
           Respondent(s):
           Creditor's Attorney -   Aida S. Macedo; Debtor’s Attorney – Riley
           Walter
           Creditor’s Attorney –   Richard Salinas
           (by phone) Creditor’s   Attorney - Adam Garth, Jacqueline Zee,   Gerald
           Sims

           _____________________________________________________________________
                                         CIVIL MINUTES
           HEARING TO BE HELD ON 12/21/2017 at 9:30 AM at Fresno Courtroom 13,
           Department B


           The court will issue an order.
           For the reasons stated on the record, the matter was continued.
           Debtor shall file additional evidence on or before 12/15/17. Any
           reply shall be filed by 12/19/17.
